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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 UNITED STATES OF AMERICA
                                              Case No. 19 CR 567
          v.
                                              Judge Harry D. Leinenweber
 ROBERT SYLVESTER KELLY, aka
 “R. Kelly,”
 DERREL McDAVID, and
 MILTON BROWN, aka “June Brown”

 GOVERNMENT’S SECOND SUBMISSION REGARDING ADMISSIBILITY
       OF PURPORTED BUSINESS RECORDS PROPOSED
                 BY DEFENDANT MCDAVID

      On September 4, 2022, defendant Derrel McDavid submitted to the court eight

documents that McDavid “intends to authenticate and offer through Marta

Johansen,” a former administrative assistant of private investigator Jack Palladino.

Accompanying these documents is a purported declaration by Ms. Johansen in which

she represents that “these records appear to be the original or duplicates of the

original records kept in the custody of Palladino & Sutherland, Inc.” (emphasis

added).

      In its prior submission, the government set out in detail its objection to the

wholesale admission of these proposed documents on the basis of the business records

exception, Fed. R. Evid. 803(6). See R. 299. In particular, the government argued Ms.

Johansen could not serve as a qualified witness to authenticate and admit the

proposed documents under Fed. R. Evid. 803(6)(D), given her only passing familiarity

with their originality. Id. at 4-5. The government also established that the proposed
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documents were not immediately relevant to a fact issue in this case and may only be

conditionally so upon the testimony of McDavid at trial. See Fed. R. Evid. 401, 104(b).

      For the reasons set forth below, the government renews its objection to the

admission of these proposed documents in evidence. To the extent the court

nonetheless considers the proposed documents’ admissibility, it should do so through

a two-step inquiry that first considers their authenticity and then evaluates the

foundation for their relevance in relation to McDavid’s state of mind. The admission

of these proposed documents—reflecting in many cases unfettered and highly biased

commentary by a private investigator working on behalf of Kelly to recover tapes

depicting child pornography—on Ms. Johansen’s authentication alone risks

significant prejudice and would run afoul of a suite of evidentiary rules as further

detailed below.

 I.   ARGUMENT

      None of the eight documents proposed by McDavid is immediately identifiable

as a business record as defined by Fed. R. Evid. 803(6). As set forth in the

government’s first submission and reply on this issue, see R. 299, 303, each proposed

document bears significant questions of whether the “source of the information [and]

the method or circumstances of preparation indicate a lack of trustworthiness.”

United States v. Croft, 750 F.2d 1354, 1364 (7th Cir. 1984). This is because most of

the documents are addressed to attorneys or were otherwise prepared in the context

of anticipated litigation, with some directly referencing efforts to develop

impeachment evidence on expected witnesses. See Jordan v. Binns, 712 F.3d 1123,
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1136 (7th Cir. 2013). Others suffer from a significant lag between the creation of the

document itself and the underlying event or transmission of information. See Fed. R.

Evid. 803(6)(A). And, as noted above, it is not clear that Ms. Johansen can attest to

the proposed documents as being kept in the regular course of Mr. Palladino’s

business. See Fed. R. Evid. 803(6)(B)-(D). To authenticate the documents or to admit

them as business records, the court will first have to measure whether Ms. Johansen

can testify as to the documents’ adequacy under “all these conditions,” see id., and in

a manner that overcomes the government’s showing of indicia of untrustworthiness.

      But “[t]he determination that [a document] meets the test of authenticity does

not end the inquiry” where “[d]efendant has raised relevance objections to many of

the [documents] and argues that the contents of all of them are inadmissible

hearsay.” United States v. Latchin, 2007 WL 9724208, at *6 (N.D. Ill. Jan. 22, 2007).

As previously noted and as described in detail below, the proposed documents are

potentially highly prejudicial, replete with hearsay and hearsay-within-hearsay, and

often lack relevance to a fact issue in this case (a factor to which Ms. Johansen will

be unable to speak to). The apparently wide-ranging nature of Mr. Palladino’s

investigation means that the proposed documents relate to individuals that are

neither witnesses nor otherwise implicated at trial and events that are not within the

bounds of the conduct charged in the Superseding Indictment. Where the documents

do discuss relevant conduct and personalities, they are colored by the biased

commentary of investigators hired at Kelly’s behest. And the documents contain, and

indeed rely on, purported statements of third parties, in at least two instances taking
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the form of unsigned “declarations.” Authentication offers a solution to none of these

issues.

      The government expects that McDavid will attempt to surmount these

evidentiary barriers by testifying as to how reading the documents impacted his state

of mind, pursuant to Fed. R. Evid. 803(3). It remains to be seen whether McDavid’s

testimony will qualify under that particular exception to hearsay. See United States

v. Jackson, 780 F.2d 1305, 1315 (7th Cir. 1986). But even if his testimony can

ameliorate hearsay concerns, it does nothing to remedy lack of relevance or the bias

and prejudice inherent in the proposed documents as outlined below:

      •   Document 1 is a collection of summaries of telephone conversations with

          a non-witness individual named A.W., a purported victim of Kelly’s in

          conducted unrelated to the charged offenses. Document 1 should be

          excluded under Fed. R. Evid. 401 and 403.

      •   Document 2 is a “brief summary” sent to a public relations/crisis

          communications firm describing a private “sting” operation that targeted

          persons unrelated to the charged offenses. Document 2 also merits

          exclusion under Fed. R. Evid. 401 and 403.

      •   Document 3 is an unsigned “declaration” of non-witness A.W. the contents

          of which are unrelated to the charged offenses. Document 3 is likewise

          excludable under Fed. R. Evid. 401 and 403.

      •   Document 4 is a memorandum to counsel summarizing interviews of Jane

          and members of her family. Document 4 is excludable under Fed. R. Evid.
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       403 as cumulative of the direct witness testimony of Jane, Susan, and

       Detective Everett at trial and as containing prejudicial statements

       regarding Jane and other witnesses.

   •   Document 5 is an unsigned “declaration” of Jane, who has already testified

       and been subject to cross-examination at trial. Document 5 carries the

       significant potential to be unfairly prejudicial, confuse the issues, and

       mislead the jury and should be excluded under Fed. R. Evid. 403,

       particularly given that the defense chose not to present Jane with this

       document during cross-examination.

   •   Document 7 is a memorandum to counsel regarding two intermediaries,

       Chuck Freeman and Charlucci Finney, with regard to their knowledge of

       and ability to resolve a matter unrelated to the charged conduct. Document

       7 contains improper extrinsic evidence of a witness’s truthfulness under

       Fed. R. Evid. 404(b) and 608(b), along with prejudicial characterizations of

       Freeman and the nature of the investigation.

   •   Document 8 is a compilation of documents, including memoranda to

       counsel and reports summarizing witness interviews, conducted in an effort

       to gather “impeachment” evidence against Freeman. Document 8 is

       impermissible under Fed. R. Evid. 404, 608, and 609. It also contains

       commentary from investigators with regard to Freeman which would be

       prejudicial under Fed. R. Evid. 403.
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       •   Document 9 is an invoice purporting to itemize activities and billable

           hours related to efforts to recover items for Kelly. Document 9 contains

           prejudicial descriptions of investigative work conducted by Palladino which

           would violate Fed. R. Evid. 403.

       Unless and until McDavid testifies, these documents will remain only

conditionally relevant. See Fed. R. Evid. 104(b) (“When the relevance of evidence

depends on whether a fact exists, proof must be introduced sufficient to support a

finding that the fact does exist.”); see also R. 299 at 8-9. The proposed documents

cannot be admitted prior to McDavid taking the stand and cannot be admitted on the

authentication of Ms. Johansen alone. Prejudicial and cumulative content, along with

improper character evidence, can only be resolved through redactions after a proper

relevance foundation has been laid, if the document is not precluded from admission

in its entirety.

       Ultimately, the only means by which to safeguard the jury from receiving

improper evidence in the form of the proposed documents is the two-step process

proposed by the government: first, to determine the authenticity of the proposed

documents through the testimony of Ms. Johansen and second, to determine their

relevance—and admissibility—through the testimony of McDavid as to how they

affected his state of mind. Anything short of the above-described process bears

significant risk of prejudicing the jury through the introduction of improper evidence.
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II.   CONCLUSION

      For the foregoing reasons, the United States respectfully requests that the

Court exclude the proffered documents from admission into evidence at trial, or, in

the alternative, conducts a two-step test to determine both their authenticity and

relevance prior to admission.



                                      Respectfully submitted,

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